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                                                                                           464 MD 2021




       IN THE COMMONWEALTH COURT OF PENNSYLVANIA
Carol Ann Carter, et al.,                 : CASES CONSOLIDATED
            Petitioners                   :
                                          :
      v.                                  : No. 464 M.D. 2021
Leigh Chapman, et al.,                    :
           Respondents                    :
                                          :

Philip T. Gressman, et al.,               :
              Petitioners                 :
      v.                                  :
                                          : No. 465 M.D. 2021
Leigh Chapman, et al.,                    :
           Respondents                    :
                                          :


     CARTER PETITIONERS’ BRIEF IN SUPPORT OF PROPOSED
           CONGRESSIONAL REDISTRICTING PLAN
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      Pursuant to this Court’s January 14, 2022 scheduling order, the Carter

Petitioners hereby submit this brief in support of their 2022 Pennsylvania

Congressional Redistricting Plan (the “Carter Plan”).1

                                 INTRODUCTION

      Four years ago, in League of Women Voters of Pa. v. Commonwealth, 645 Pa.

576 (2018) (LWV II), the Pennsylvania Supreme Court struck down the 2011

congressional map as a partisan gerrymander and adopted a remedial congressional

map that reflected the physical and political geography of the Commonwealth (the

“2018 Remedial Plan”). The Carter Plan builds on the court-approved 2018

Remedial Plan, preserving the cores and lines of current districts to the greatest

extent possible, while accounting for changes in the Commonwealth’s population

over the past decade. The Carter Plan meets or surpasses the 2018 Remedial Plan’s

performance on the state’s traditional redistricting criteria while also reflecting the

partisan preferences of Pennsylvania voters.

      Although metropolitan areas in Pennsylvania experienced population growth

at the same rate as the United States as a whole, substantial population decline in

rural Pennsylvania entitles Pennsylvania to one fewer congressional district for the

next decade. As a result, the Carter Petitioners’ proposed districts in Southeastern


1
  The Carter Plan was drawn using 2020 Census redistricting data. The population
of each of its districts remains the same whether one uses the 2020 Census
redistricting data set or the Legislative Reapportionment Commission’s Data Set #1.
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Pennsylvania and the Pittsburgh area change very little from the 2018 Remedial

Plan, whereas the loss of a rural district necessitates more changes in the geographic

size and configuration of districts in the rest of the state to preserve population

equality. Nevertheless, even where district boundary changes were necessary to

equalize population, the Carter Plan adjusts those boundaries in ways that matched

or improved the 2018 map’s compliance with the traditional, objective redistricting

criteria that the Pennsylvania Supreme Court set forth in LWV I: compactness,

contiguity, equality of population, and respect for the integrity of political

subdivisions.

      For these reasons, explained in more detail below, the Carter Petitioners

respectfully ask this Court to adopt the Carter Plan in full.

                                  BACKGROUND

      On January 14, 2022, this Court issued an order requesting that all parties in

the case submit “at least one (1) but no more than two (2) proposed 17-district

congressional redistricting plan(s) that are consistent with the results of the 2020

Census and, if the party chooses to do so, a supporting brief and/or a supporting

expert report, by 5:00 p.m. on Monday, January 24, 2022.” Order, Carter v.

Degraffenreid, Nos. 464 MD 2021, 465 MD 2021 (Pa. Commw. Ct. Jan. 14, 2022).

      The Pennsylvania Supreme Court adopted the 2018 Remedial Plan after it

invalidated the 2011 plan as a violation of the “Free and Equal” Elections Clause of


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the Pennsylvania Constitution. LWV II, 645 Pa. 576. During the remedial stage of

that litigation, the Pennsylvania Supreme Court identified several “neutral criteria”

to assess congressional redistricting plans: (1) population equality; (2) compactness;

(3) contiguity; and (4) respect for political subdivisions. League of Women Voters v.

Commonwealth (LWV I), 178 A.3d 737, 816–17 (Pa. 2018). The goal was to create

“representational districts that both maintain the geographical and social cohesion

of the communities in which people live and conduct the majority of their day-to-

day affairs, and accord equal weight to the votes of residents in each of the various

districts.” Id. at 814, 816. In ultimately adopting the 2018 Remedial Plan, the

Pennsylvania Supreme Court emphasized that the 2018 Remedial Plan was “superior

or comparable” to the other plans before the Court based on the relevant neutral

criteria it had identified previously. Opinion and Order Adopting Remedial Plan at

7, League of Women Voters of Pa. v. Commonwealth, No. 159 MM 2017 (M.D. Pa.

2018).

      Pennsylvania’s 2018 congressional redistricting litigation thus provides

recent guidance both on the drawing of a proposed congressional plan and the criteria

by which it should be evaluated. The 2018 Remedial Plan was drawn using last

decade’s population counts, however. 2020 Census data shows that Pennsylvania is

now entitled to one fewer seat due to its slow population growth as compared to the

rest of the United States. The challenge for a map drawer, therefore, is drawing a


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plan that adheres to the guidance set forth in LWV I while grappling with

Pennsylvania’s population loss. The Carter Plan achieves these goals.

      Pursuant to this Court’s instructions, the Carter Petitioners submit one

proposed 17-district map using the 2020 Census redistricting data set, the

accompanying expert report of Dr. Jonathan Rodden, and this brief.

                               THE CARTER PLAN
      The Carter Plan is appended to this brief as Exhibit 2. As described below, see

infra Section I, it implements a least-change approach. Using the 2018 Remedial

Map as a starting point, it preserves district cores, creates continuity in

representation, and respects communities of interest. It also satisfies the traditional

redistricting criteria announced in LWV I and other redistricting principles that the

Pennsylvania Supreme Court has relied upon in the past.

      At the same time, the Carter Plan accounts for the significant changes in

Pennsylvania’s population between 2011 and 2021. Pennsylvania’s population

change was not uniform statewide. Rural regions of the state lost population. But

urban areas grew—some, significantly. In particular, Chester, Lehigh, and

Montgomery Counties in the southeast, as well as Dauphin County in Central

Pennsylvania, all grew by over 8 percent. See Ex. 1, Rodden Expert Report

(hereinafter Ex. 1) at 7. And Allegheny County, encompassing Pittsburgh, grew by

2.2%. Id. By contrast, rural counties, like Fayette, lost population. Id.


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        Pennsylvania lost a congressional district because its population did not grow

as much as other states’. This slower growth is attributable largely to population

decline outside of Pennsylvania’s metropolitan areas. Id. at 7. Consequently,

although the districts in metropolitan areas need only be fine-tuned based on local

variation in the rate of population growth, more significant changes to existing

districts in rural Pennsylvania are unavoidable. Id. at 9. The Carter Plan makes these

adjustments in a manner that aligns with the redistricting principles outlined below.


                         REDISTRICTING PRINCIPLES

   I.      Least-Change Approach

        Because the Pennsylvania Supreme Court adopted a congressional districting

plan that it found to be “superior or comparable” to any plan submitted by parties

and amici in the LWV case just four years ago, the Carter Petitioners took a “least-

change” approach to drawing their proposed map. As such, they used the 2018

Remedial Plan as a starting point, a common strategy courts deploy when, as here,

the existing map is rendered obsolete by population changes. LaComb v. Growe, 541

F. Supp. 154, 151 (D. Minn. 1982) (stating that the “starting point” for new, court-

drawn congressional districts is the last configuration of districts); see also Order,

Johnson v. WEC, No. 2021AP1450-OA, ¶ 81 (plurality op.), ¶ 87 (Hagedorn, J.,

concurring) (Wis. Nov. 30, 2021) (holding that judicially adopted plans should

attempt to minimize changes from the previous map); Order, Hippert v. Ritchie, 813

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N.W. 2d 374, 380 (Minn. 2012), No. A11-152 (Minn. Special Redistricting Panel

Feb. 21, 2012) (explaining that the judicial redistricting panel “utilizes a least-

change strategy where feasible”).

         By taking this approach, the Carter Petitioners were able to preserve the core

of the 2018 Remedial Plan’s districts and create continuity for the overwhelming

majority of Pennsylvania residents. See Karcher v. Daggett, 462 U.S. 725, 740

(1983) (recognizing that preserving district cores is a traditional principle of

redistricting); Reynolds v. Sims, 377 U.S. 533, 578-79 (1964) (same). Under the

Carter Plan, 87 percent of Pennsylvania’s population would remain in their 2018

Remedial Plan district. See Ex. 1 at 20. Moreover, the Carter Plan’s least-change

approach required no sacrifice of any of the traditional redistricting criteria outlined

by the Pennsylvania Supreme Court; it meets or surpasses the 2018 Remedial Plan

on population equality, compactness, contiguity, and political subdivision splits.

   II.      Traditional Redistricting Criteria Announced in LWV

         The Carter Plan meets or surpasses the 2018 Remedial Plan on the LWV I

court’s redistricting criteria while also reflecting the partisan preferences of

Pennsylvania voters.

            a. Equal Population

         The Carter Plan satisfies the requirement for equal population. A

congressional redistricting plan “should consist of congressional districts . . . as


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nearly equal in population as practicable.” LWV II, 645 Pa. at 581. Under the “one

person, one vote” principle, congressional districts within a state must have equally

apportioned numbers of persons. See Wesberry v. Sanders, 376 U.S. 1, 7-8 (1964).

For federal congressional districts, the United States Constitution “permits only the

limited population variances which are unavoidable despite a good-faith effort to

achieve absolute equality.” Kirkpatrick v. Preisler, 394 U.S. 526, 531 (1969); see

also Mellow v. Mitchell, 530 Pa. 44, 51 (1992).

      The Carter Plan satisfies this principle. The ideal population of the 17

congressional districts is 764,865. The Carter Plan includes 4 districts with the ideal

population and 13 districts with a deviation of plus or minus one person. This level

of population deviation readily satisfies constitutional requirements. Colleton Cty.

Council v. McConnell, 201 F. Supp. 2d 618, 664 (D.S.C. 2002) (“In keeping with

our overriding concern, the court plan complies with the ‘as nearly as practicable’

population equality requirement of Article 1, § 2 of the Constitution, with a deviation

of plus or minus one person.” (citing Karcher, 462 U.S. at 730)).

          b. Compactness

      The Carter Plan is comparable in compactness to the 2018 Remedial Plan. Ex.

1 at 22-23.




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      A congressional redistricting plan “should consist of congressional districts

composed of compact . . . territory.” LWV II, 645 Pa. at 581; see also Miller v.

Johnson, 515 U.S. 900, 916 (1995); Brown v. Thomson, 462 U.S. 835, 842 (1983).

      The Carter Plan satisfies this principle. See Ex. 1 at 22-23. Consistent with the

LWV I decision, the Carter Petitioners have reported the results of the Reock,

Schwartzberg, Polsby-Popper, Population Polygon, and Area/Convex Hull measures

of compactness for each district. 2 See Ex. 1 at 22, Table 5; see also League of Women

Voters v. Commonwealth, 645 Pa. 1, 46-48 (2018) (calling the Reock and Polsby-

Popper metrics “widely-accepted standards”). Overall, the Carter Plan’s Reock score

matches the 2018 Remedial Plan’s score; its Schwartzberg score is better than the

2018 Remedial Plan’s score; and it falls just shy of matching (each by 0.01) the 2018

Remedial Plan’s scores on the remaining measures. The Carter Plan’s slight decrease

along some compactness measures results from the effort to maintain population



2
  The Reock test compares each district to an ideal circle and computes the ratio of
the area of the district to the minimum area of a circle sufficiently large to encompass
the district. The Schwartzberg test is similar, taking the ratio of the perimeter of a
district to the circumference of a circle whose area is equal to the area of the district.
The Polsby-Popper test compares the ratio of a district’s area with the area of a circle
sharing the same perimeter. The Population Polygon test computes the ratio of a
district’s population to the population of the minimum convex polygon that
completely contains the district. And the Area/Convex Hull test measures the ratio
of a district’s area to the area of the minimum convex shape that completely contains
the district. The numerical result of each test falls between zero and one, with one
being the most compact.

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equality in Districts 4 and 5. Population deviations in the counties comprising these

districts—specifically Bucks and Delaware Counties—required the Carter Plan to

reach outside of those subdivisions for additional population.3

          c. Contiguity

      The Carter Plan’s districts are contiguous. A congressional redistricting plan

“should consist of congressional districts composed of . . . contiguous territory.”

LWV II, 645 Pa. at 581; see also Miller, 515 U.S. at 916. Each of the Carter Plan’s

17 districts is contiguous and includes none of the “isthmuses” or “tentacles” that

concerned the Supreme Court in League of Women Voters of Pa. v. Commonwealth.

LWV I, 645 Pa. at 126.

          d. Integrity of Political Subdivisions

      Finally, the Carter Plan maintains and builds upon the 2018 Remedial Plan’s

respect for the integrity of political subdivisions. A congressional redistricting plan

“should consist of congressional districts . . . which do not divide any county, city,

incorporated town, borough, township, or ward, except where necessary to ensure




3
  In particular, Dr. Rodden explains that in drawing the Carter Plan, he had to make
a choice between drawing less compact districts centered on Bucks and Delaware
Counties by including population tracts in neighboring Montgomery County or
disrupting the 2018 Remedial Plan’s careful efforts not to split Chester, Lancaster,
Lehigh, and Northampton Counties. See Ex. 1 at 8. Ultimately, the Carter Plan does
the former.
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equality of population.” LWV II, 645 Pa. at 581; see also Karcher, 462 U.S. at 740–

41; Reynolds, 377 U.S. at 580–81.

      The Carter Plan satisfies this principle. See Ex. 1 at 21. In comparison to the

2018 Remedial Plan, which the Pennsylvania Supreme Court chose in part because

it performed well on this score, the Carter Plan has the same or fewer county, county

subdivision, and vote tabulation district splits. Id.

   III.   Other Redistricting Principles

      The Carter Plan also embodies other redistricting principles considered by the

Pennsylvania Supreme Court.         It preserves minority voting rights, maintains

communities of interest, and reflects Pennsylvanians’ partisan preferences.

          a. Minority Voting Rights

      The Carter Plan maintains the protection for minority voting rights reflected

in the 2018 Remedial Plan. In Mellow v. Mitchell, the Pennsylvania Supreme Court

adopted the Commonwealth Court’s recommendation to approve a congressional

redistricting plan in part because that plan achieved greater minority representation.

Mellow v. Mitchell, 530 Pa. 44, 50 (1992). Likewise, under federal law, districts

must be drawn to protect the equal opportunity of racial, ethnic, and language

minorities to participate in the political process and elect candidates of their choice,

whether alone or in alliance with others. Voting Rights Act of 1965, 52 U.S.C. §

1030l(b) (2018). And districts must not be drawn with either the purpose or effect of


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denying or abridging the voting rights of any United States citizen on account of

race, ethnicity, or membership in a language minority group. U.S. Const. amends.

XIV, XV; 52 U.S.C. § 1030l(a).

      The Carter Plan satisfies this principle. It closely follows the boundaries of

the 2018 Remedial Plan with regard to those areas of the state with sizeable minority

populations, thus preserving the minority opportunity districts that the Pennsylvania

Supreme Court approved in 2018. Moreover, Dr. Rodden did not take racial data

into account when making adjustments for population changes. See Ex. 1 at 23.

         b. Communities of Interest

      The Mellow Court adopted a congressional redistricting plan that

implemented “community-of-interest factors in those regions of the State which

have identified them.” Mellow, 530 Pa. at 50; see also Ala. Legis. Black Caucus v.

Alabama, 575 U.S. 254, 272 (2015) (describing respect for “communities defined

by actual shared interests” as a traditional redistricting principle (quotation

omitted)). Likewise, the Governor’s Pennsylvania Redistricting Advisory Council

adopted “communities of interest” as one of its redistricting principles, defining the

term as “contiguous geographic areas or neighborhoods in which residents share

common socio-economic and cultural interests which the residents of the region may

seek to translate into effective representation. Examples of shared interests include

those common to rural, urban, industrial or agricultural areas, where residents have


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similar work opportunities, share similar standards of living, use the same

transportation facilities, or share common environmental, healthcare, or educational

concerns, among others.” Advisory Council Redistricting Principles, available at

https://www.governor.pa.gov/wp-content/uploads/2021/11/Redistricting-Advisory-

Council-Final-Principles.pdf.

      The Carter Plan satisfies this principle. In applying a least-change approach

and focusing on the Pennsylvania Supreme Court’s traditional redistricting criteria,

the Carter Plan creates districts that represent natural and well-defined communities

of interest. As described above, the current districts were crafted by a Court-

appointed advisor who considered a lengthy Commonwealth Court record and many

submissions by parties and amici. For those changes that the Carter Plan does make,

it follows natural and political subdivision boundaries with a focus on keeping

communities together. For example, when District 7 required additional population,

Dr. Rodden added Carbon County to unify the Allentown-Bethlehem-Easton

metropolitan statistical area consisting of the entirety of Northampton, Lehigh, and

Carbon Counties. Ex. 1 at 13-14, Figure 6. Likewise, the new District 15, which had

to change significantly due to population changes and the loss of what is District 12

under the 2018 Remedial Plan, now avoids a split of Centre County that had

previously separated State College from some of its suburbs. Id. at 18, Figure 10.




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          c. Partisan Fairness

      Finally, the Carter Plan reflects the partisan preferences of Pennsylvania

voters. In Mellow, the Pennsylvania Supreme Court cited partisan fairness—the fact

that the map in question resulted in a “politically fair balance in the Pennsylvania

delegation between Democrats and Republicans”—as an additional factor to support

adoption of the Commonwealth Court’s recommendation. Mellow, 530 Pa. at 58.

Similarly, the Pennsylvania Redistricting Advisory Council adopted both “partisan

fairness” and “competitiveness and responsiveness” as favored principles. The

Council defined “partisan fairness” as “requir[ing] that parties have the opportunity

to translate their popular support into legislative representation with approximately

equal efficiency such that the proportion of districts whose voters favor each political

party should correlate to the statewide preferences of the voters.” It defined a

“competitive district [as] one in which the electoral outcome is close enough that the

district can change with shifting voter preferences” and a “responsive map [as] one

with enough competitive districts to allow for changes in the composition of the

delegation with changes in proportion of votes for the parties.” Id.

      The Carter Plan satisfies these principles. Although Dr. Rodden did not

consider partisan outcomes when drawing his map, he later analyzed the Carter

Plan’s likely partisan performance. Ex. 1 at 23-25. He concluded that the Carter

Plan’s partisan performance essentially matches that of the 2018 Remedial Plan, and


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that it contains truly competitive districts. Id. Accordingly, the Carter Plan will be

both reflective of and responsive to Pennsylvanians’ statewide partisan preferences.

                                  CONCLUSION

      For the foregoing reasons, the Carter Petitioners respectfully request that this

Court adopt their proposed congressional redistricting plan.




                                                    Respectfully submitted,

                                                               /s/ Edward D. Rogers

                                                  Counsel for the Carter Petitioners




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                    Exhibit 
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                    EXPERT REPORT OF JONATHAN RODDEN, Ph.D.

              Carter v. Chapman, 464 MD 2021, 465 MD 2021 (Pa. Commw. Ct.)
                                     January 24, 2022

In this report, I describe the Carter Plan, a proposed Pennsylvania congressional redistricting map
that I was asked to create and which the Carter Petitioners are submitting for consideration
pursuant to the Court’s January 14, 2022 Order.

Specifically, I was asked to use the existing court-drawn 18-district plan as a guide, and to draw a
new 17-district plan that is as similar as possible to the existing plan, preserving the cores and
boundaries of districts where feasible given equal population requirements, and meeting or
surpassing its adherence to traditional redistricting criteria, including (1) minimizing splits of
counties, municipalities, and vote tabulation districts and (2) drawing compact districts. Moreover,
I was asked to be mindful of the residential addresses of congressional incumbents to avoid
inadvertent pairings of incumbent legislators. Finally, after completing my map, I was asked to
evaluate the districts’ partisan performance.

The most important constraint shaping this task was the demographic change experienced by
Pennsylvania since the 2010 census. The metropolitan areas of the state have experienced
population growth on par with the United States as a whole, while rural Pennsylvania has
experienced a precipitous decline in population. As a result of rural population loss, Pennsylvania
lost a congressional seat. Accordingly, it is possible to make relatively small changes to the
districts in Southeastern Pennsylvania and the Pittsburgh area, but the geographic size and
configuration of districts in the rest of the state, which is more rural, needed to change more
substantially to preserve population equality.

This report explains those demographic constraints in greater detail, and then presents a proposed
congressional map that maintains continuity with the 2018 plan and adheres to traditional
redistricting criteria. Despite the challenges associated with the loss of a district, this map shows
that it is possible to preserve a relatively similar level of compactness as the current map, split the
same number of counties, and reduce the number of split municipalities and vote tabulation
districts. Furthermore, the resulting map is likely to result in a seat share that is consistent with and
responsive to Pennsylvania voters’ partisan preferences.

                          I.      QUALIFICATIONS AND EXPERIENCE

I am currently a tenured Professor of Political Science at Stanford University and the founder and
director of the Stanford Spatial Social Science Lab—a center for research and teaching with a
focus on the analysis of geo-spatial data in the social sciences. I am engaged in a variety of research
projects involving large, fine-grained geo-spatial data sets including ballots and election results at
the level of polling places, individual records of registered voters, census data, and survey
responses. I am also a senior fellow at the Stanford Institute for Economic Policy Research and
the Hoover Institution. Prior to my employment at Stanford, I was the Ford Professor of Political
Science at the Massachusetts Institute of Technology. I received my Ph.D. from Yale University
and my B.A. from the University of Michigan, Ann Arbor, both in political science. A copy of my
current C.V. is included as Exhibit A.

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In my current academic work, I conduct research on the relationship between the patterns of
political representation, geographic location of demographic and partisan groups, and the drawing
of electoral districts. I have published papers using statistical methods to assess political
geography, balloting, and representation in a variety of academic journals including Statistics and
Public Policy, Proceedings of the National Academy of Science, American Economic Review
Papers and Proceedings, the Journal of Economic Perspectives, the Virginia Law Review, the
American Journal of Political Science, the British Journal of Political Science, the Annual Review
of Political Science, and the Journal of Politics. One of these papers was selected by the American
Political Science Association as the winner of the Michael Wallerstein Award for the best paper
on political economy published in the last year, and another received an award from the American
Political Science Association section on social networks. In 2021, I received a John Simon
Guggenheim Memorial Foundation Fellowship, and received the Martha Derthick Award of the
American Political Science Association for “the best book published at least ten years ago that has
made a lasting contribution to the study of federalism and intergovernmental relations.”

I have recently written a series of papers, along with my co-authors, using automated redistricting
algorithms to assess partisan gerrymandering. This work has been published in the Quarterly
Journal of Political Science, Election Law Journal, and Political Analysis, and it has been featured
in more popular publications like the Wall Street Journal, the New York Times, and Boston Review.
I recently published a book, published by Basic Books in June of 2019, on the relationship between
political districts, the residential geography of social groups, and their political representation in
the United States and other countries that use winner-take-all electoral districts. The book was
reviewed in The New York Times, The New York Review of Books, Wall Street Journal, The
Economist, and The Atlantic, among others. This book included deep analysis of Pennsylvania’s
political geography and redistricting.

I have expertise in the use of large data sets and geographic information systems (GIS), and
conduct research and teaching in the area of applied statistics related to elections. My PhD students
frequently take academic and private sector jobs as statisticians and data scientists. I frequently
work with geo-coded voter files and other large administrative data sets, including in recent paper
published in the Annals of Internal Medicine and The New England Journal of Medicine. I have
developed a national data set of geo-coded precinct-level election results that has been used
extensively in policy-oriented research related to redistricting and representation.

I have been accepted and testified as an expert witness in six election law and redistricting cases:
Romo v. Detzner, No. 2012-CA-000412 (Fla. Cir. Ct. 2012); Mo. State Conference of the NAACP
v. Ferguson-Florissant Sch. Dist., No. 4:2014-CV-02077 (E.D. Mo. 2014); Lee v. Va. State Bd. of
Elections, No. 3:15-CV-00357 (E.D. Va. 2015); Democratic Nat’l Committee et al. v. Hobbs et
al., No. 16-1065-PHX-DLR (D. Ariz. 2016); Bethune-Hill v. Virginia State Board of Elections,
No. 3:14-cv-00852-REP-AWA-BMK (E.D. Va. 2014); and Jacobson et al. v. Lee, No. 4:18-cv-
00262 (N.D. Fla. 2018). Just earlier this month, the Ohio Supreme Court credited my expert
analysis in Bennett v. Ohio Redistricting Commission, No. 2012-1198 (Ohio 2022), and Adams v.
DeWine, No. 2012-1428 (Ohio 2022), two redistricting cases challenging state legislative and
congressional maps. I also worked with a coalition of academics to file Amicus Briefs in the
Supreme Court in Gill v. Whitford, No. 16-1161, and Rucho v. Common Cause, No. 18-422. Much
of the testimony in these cases had to do with geography, electoral districts, voting, ballots, and


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election administration. I am currently working as a consultant for the Maryland Redistricting
Commission.

I am being compensated at the rate of $550/hour for my work in this case. My compensation is not
dependent upon my conclusions in any way.

                                     II.    DATA SOURCES

In order to assess statewide partisanship, I have collected statewide election results for selected
elections from 2010 to 2020 from the Pennsylvania Department of State. 1 The specific elections
and results are detailed in Table 1 below. As part of my analysis of the relationship between
population change and partisanship, I also collected county-level results of those same elections
from the Pennsylvania Department of State. In order to assess the partisanship of the existing
Pennsylvania Congressional districts as well as the proposed Carter Plan, I also accessed precinct-
level election results from the Pennsylvania Department of State for statewide elections from 2016
to 2020 that were matched to 2020 Pennsylvania vote tabulation districts by a team at Harvard
University called the Algorithm-Assisted Redistricting Methodology Project. 2 I also used block-
level 2020 population estimates produced by the United States Census Department for the purposes
of legislative redistricting. Additionally, I accessed the boundaries of current legislative districts
and counties, along with data on 2010 and 2020 population, from the National Historical GIS
(nhgis.org). I also accessed a file containing addresses of incumbents that was provided to me by
counsel.

             III.   PENNSYLVANIA’S CURRENT CONGRESSIONAL DISTRICTS

Pennsylvania’s current congressional plan was adopted in 2018 by an order of the Pennsylvania
Supreme Court in League of Women Voters of Pa. v. Commonwealth, 645 Pa. 576 (2018) (LWV).
In explaining its reasons for selecting this map, the Pennsylvania Supreme Court cited the map’s
superiority, compared with other maps that had been submitted, with respect to the traditional
redistricting criteria of compactness and minimization of splits of counties, municipalities, and
smaller political subdivisions. Indeed, the map stands out relative to those of many other U.S.
states in that its districts are relatively compact and respectful of county and municipal boundaries.

As demonstrated by the elections of 2018 and 2020, the map also produced a congressional
delegation that came very close to accurately portraying the partisan preferences of Pennsylvania’s
voters. In recent years, Pennsylvania has been a competitive but Democratic-leaning state. Table
1 displays results of all statewide elections since the last round of decennial redistricting. The
average vote share of Democratic candidates during this period was almost 53 percent. Democratic
candidates were victorious in 13 of 17 statewide races.




1
    https://www.electionreturns.pa.gov/ReportCenter/Reports
2
    https://alarm-redist.github.io/posts/2021-08-10-census-2020/
                                                  3
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                       Table 1: Pennsylvania Statewide Election Results, 2012-2020

                                                   Democratic         Republican        Democratic
                                                     votes              votes           vote share
             2012 President                        2,990,274          2,680,434             52.73%
             2012 Senate                           3,021,364          2,509,132             54.63%
             2012 Attorney General                 3,125,557          2,313,506             57.46%
             2012 Auditor General                  2,729,565          2,548,767             51.71%
             2012 Treasurer                        2,872,344          2,405,654             54.42%
             2014 Governor                         1,920,355          1,575,511             54.93%
             2016 Presidential                     2,926,441          2,970,733             49.62%
             2016 U.S. Senate                      2,865,012          2,951,702             49.25%
             2016 Attorney General                 3,057,010          2,891,325             51.39%
             2016 Auditor General                  2,958,818          2,667,318             52.59%
             2016 Treasurer                        2,991,404          2,610,811             53.40%
             2018 U.S. Senate                      2,792,437          2,134,848             56.67%
             2018 Governor                         2,895,652          2,039,882             58.67%
             2020 Presidential                     3,458,229          3,377,674             50.59%
             2020 Attorney General                 3,461,472          3,153,831             52.33%
             2020 Auditor General                  3,129,131          3,338,009             48.39%
             2020 Treasurer                        3,239,331          3,291,877             49.60%

             2012-2020 Average                                                              52.85%
             2016-2020 Average                                                              52.05%
             2018-2020 Average                                                              52.71%

Note: Democratic vote share is the Democratic share of the votes for the two major parties (Democrats and
Republicans). The denominator does not include minor parties and write-in candidates.

Table 1 also provides vote share averages for more recent election cycles. From 2016 to 2020—
the period for which I have accessed precinct-level election results that allow me to assess the
likely partisanship of proposed new redistricting plans—the average Democratic vote share was
around 52 percent. During the lifespan of the most recent redistricting plan, which was
implemented in 2018, the average Democratic vote share was 52.7 percent.

Given this pattern of statewide election results, a congressional redistricting plan that produces a
slight majority of Democratic members of Congress would be an accurate reflection of overall
statewide partisanship. After the elections of 2018 and 2020, the Pennsylvania congressional
delegation was split evenly between the two parties. In other words, the 2018 congressional plan
was, if anything, slightly more favorable to the Republican Party— with 50 percent of the seats
and a relatively stable statewide support base between 47 and 48 percent—than the overall
statewide vote share.

However, it is important to note that several districts were quite competitive and could plausibly
have been won by either party. The district-level results of the 2018 and 2020 elections are

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presented on the left-hand side of Table 2 below, along with the average of the two. The districts
are sorted from the most Republican to most Democratic, according to the average congressional
vote share. Note that Districts 1 (Bucks County), 10 (metro Harrisburg), and 16 (Northwest PA)
were very close in 2018—a relatively good year for Democrats—and Districts 7 (Lehigh Valley),
8 (Northeast PA), and 17 (suburban Pittsburgh) were quite close in 2020, which was a relatively
good year for Republicans.

 Table 2: Actual District-Level Results of 2018 and 2020 Elections and Statewide Election
                     Results Disaggregated by Congressional District

                                                                                           Over (under)
                                                 Average                    Average
                    Democratic    Democratic                                                performance
                                                Democratic                Democratic
                   Congressional Congressional                                                   of
        District                               Congressional               Statewide
                    vote share,   vote share,                                               Democratic
                                                vote share,               vote share,
                       2018          2020                                                  Congressional
                                                2018-2020                 2018-2020
                                                                                             candidate
             13     29.51%              26.51%              28.01%          29.35%            -1.34%
             15     32.16%              26.54%              29.35%          31.56%            -2.21%
             12     33.96%              29.16%              31.56%          33.22%            -1.66%
              9     40.25%              33.67%              36.96%          37.12%            -0.16%
             14     42.09%              35.31%              38.70%          40.66%            -1.96%
             11     41.02%              36.88%              38.95%          39.02%            -0.07%
             16     47.83%              40.66%              44.25%          43.36%             0.89%
              1     48.74%              43.44%              46.09%          53.62%            -7.53%
             10     48.68%              46.69%              47.68%          48.74%            -1.06%
              8     54.64%              51.78%              53.21%          50.94%             2.27%
              7     55.17%              51.87%              53.52%          53.68%            -0.16%
             17     56.26%              51.15%              53.70%          53.99%            -0.29%
              6     58.88%              56.05%              57.47%          56.71%             0.76%
              4     63.52%              59.53%              61.52%          62.41%            -0.88%
              5     65.19%              64.70%              64.94%          65.40%            -0.46%
             18    Uncontested          69.25%              69.25%          68.06%             1.18%
              2     79.02%              72.54%              75.78%          73.54%             2.23%
              3     93.38%              91.03%              92.21%          92.34%            -0.14%
Note: Democratic vote share is the Democratic share of the votes for the two major parties (Democrats and
Republicans). The denominator does not include minor parties and write-in candidates.

It is useful to make a distinction between actual district-level congressional election results, which
are affected by idiosyncratic aspects of candidates’ popularity, including strategic decisions by
high-quality challengers to avoid running against popular incumbents, and what might be
characterized as the underlying partisanship of the district. To capture the latter, political scientists
often use precinct-level results of statewide elections, where the same candidates are running in
each district, and count up the votes within the boundaries of legislative districts. I have also
undertaken this approach, using the 6 statewide elections listed in Table 1 for 2018 and 2020 and
taking an average for each district. These calculations are presented in the fifth column of Table
2. In the final column, I have subtracted the average statewide Democratic vote share from the

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average congressional vote share, which provides an indicator of the extent to which the
Democratic congressional candidate outperforms his or her statewide co-partisans (positive
numbers), or to which the Republican candidate outperforms his or her statewide co-partisans
(negative numbers).

This exercise reveals that while statewide and congressional election results are highly correlated,
there are some interesting and sometimes sizable differences between statewide and congressional
races. Above all, note that if we focus only on statewide races, there are 10 districts with
Democratic majorities rather than 9. District 1 has an average Democratic vote share of 53.6
percent, yet the Republican incumbent from the previous Bucks County district, Mike Fitzpatrick,
received 51.3 percent of the vote in 2018 and a comfortable 56.6 percent in 2020.

In keeping with a narrow but consistent statewide Democratic majority, the previous plan had 10
of 18 districts where Democratic candidates received majorities in statewide races, though one of
these, District 8 in Northeastern Pennsylvania, was very close to evenly divided (less than 51
percent Democratic). Additionally, one of the Republican-leaning districts, number 10 in the
Harrisburg area, was also rather evenly divided (a little over 51 percent Republican). When it
comes to actual congressional election results, several were quite competitive, and due to a popular
Republican incumbent in District 1, the delegation ended up evenly divided between the parties.

In sum, the existing plan demonstrates several desirable features. In addition to having relatively
compact districts with few splits of counties and municipalities, it also produces relatively
competitive elections, and outcomes that are roughly in line with overall partisan preferences of
Pennsylvania’s voters. Thus, it is a very reasonable starting point for the redistricting process in
2022.

                   IV.     DEMOGRAPHIC CHANGE IN PENNSYLVANIA

To understand the constraints shaping a redistricting strategy based on the preservation of existing
districts, it is necessary to understand the geography of Pennsylvania’s population change over the
last decade.

For the most part, places that were sparsely populated in 2010 subsequently lost population and
became even sparser, while relatively dense places gained population and grew denser. This simple
pattern can be visualized in Figure 1, which displays the log of 2010 population density on the
horizontal axis, and the change in population from 2010 to 2020 on the vertical axis. Each data
marker is a county, and the size of the data marker corresponds to the overall population of the
county. The county that gained the most population, on the right side of the graph, was
Philadelphia—the densest county in the state. Other counties experiencing relatively large
increases in population were other relatively dense counties in the metro area surrounding
Philadelphia County, e.g., Chester and Montgomery. With a few exceptions, e.g., Centre County
and Butler County, Pennsylvania’s relatively sparse counties lost population.




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        Figure 1: Population Density and Population Change in Pennsylvania, 2010 to 2020




In other words, metropolitan areas gained significant population, while rural areas experienced
substantial population loss. In particular, the counties of Southeastern Pennsylvania experienced
sustained population growth. In fact, from the decennial census of 2010 to that of 2020, these
counties grew at an average rate of 6.7 percent. 3 This is relatively close to the overall growth rate
of the U.S. population during the same period, which was 7.3 percent. In fact, the rate of population
growth in Chester, Lehigh, and Montgomery Counties surpassed 8 percent. Dauphin County, home
to Harrisburg, grew at a rate of 8.1 percent, while Allegheny County, home to Pittsburgh, grew at
a rate of 2.2 percent. Meanwhile, the rest of the state lost population at a rate of 2.7 percent since
2010.

These patterns can be visualized in Figure 2, which displays raw numbers of population gain and
loss by county from 2010 to 2020, along with the boundaries of the current 18 congressional
districts.




3
 I include the counties of Bucks, Berks, Chester, Delaware, Lancaster, Lehigh, Montgomery,
Northampton, and Philadelphia.
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    Figure 2: The Geography of Population Shifts, Pennsylvania Counties, 2010 to 2020




Figure 2 makes it clear that Pennsylvania lost a congressional district largely because of population
decline outside of metropolitan areas. As a result, major reconfigurations of existing districts are
unavoidable in rural Pennsylvania, whereas the districts in metropolitan areas can be fine-tuned
based on local variation in the rate of population growth.

In the previous redistricting plan, which was very careful to avoid county splits, Philadelphia
County was entirely contained within two congressional districts. Because population growth in
Philadelphia was not far off from that of the average national rate, its districts need not change
much at all. But because Bucks and Delaware counties experienced lower growth rates, Districts
1 and 5 must expand further beyond the confines of their counties. This is somewhat challenging,
since the surrounding counties of Montgomery, Chester, and Lancaster have experienced rapid
population growth. The expansions of Districts 1 and 5 must either dig further into Montgomery
County, making its district (District 4) narrower and less compact, or completely disrupt the
current map’s effort to avoid county splits in Chester, Lancaster, Lehigh, and Northampton. In the
map presented below, I have elected to maintain the structure of the existing map and reach further
into Montgomery County with Districts 1 and 5 (see below for more details).

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Moving North from the Philadelphia metro area, moderate population growth in the counties
contained in the current version of Districts 7 and 8 makes it possible to leave the basic structure
of these districts intact. Likewise, moving West from Philadelphia, District 11 (based in Lancaster
County) and District 10 (based in the Harrisburg area) require relatively minor changes due to
population growth that is close to the national average.

In metro Pittsburgh, the current map places the city of Pittsburgh and its Southern and Eastern
suburbs into District 18, with the remainder of Allegheny County and Beaver County placed in
District 17. Again, due to moderate population growth, it is straightforward to retain the existing
arrangement. This can be achieved by simply moving a small part of suburban Pittsburgh into
District 17 and expanding what was formerly called District 18 a bit further into Pittsburgh’s
exurbs in Westmoreland County.

Due to population loss, the territories of Districts 14 and 16, in the Western corners of the state,
must expand toward the central part of the state. In the central part of the state, large population
losses, combined with the unavoidable expansion of Districts 14 and 16 into their territory, mean
that the area formerly covered by Districts 9, 12, 13, and 15 must now be covered by only three
districts rather than four. Each of these districts is currently represented by a Republican
incumbent. As a result, unless the map undergoes a more extensive redesign aimed explicitly at
protecting these incumbents, two of them will be forced to compete in the same district.

It is worth noting that Pennsylvania’s demographic changes are highly correlated with
partisanship. In Pennsylvania, as in the rest of the United States, population density is highly
correlated with Democratic voting. 4 In Pennsylvania, as demonstrated in Figure 1, population
growth is occurring in relatively dense areas. This means that the places that are gaining population
are largely Democratic, and the places that are losing population are largely Republican. This
pattern can be visualized in Figure 3, which plots the county-level change in population from 2010
to 2020 on the horizontal axis, and the average Democratic vote share from 2018 and 2020 on the
vertical axis.




4
 See Jonathan Rodden, Why Cities Lose: The Deep Roots of the Urban-Rural Divide. New York:
Basic Books.
                                                 9
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       Figure 3: Population Change Since 2010 and Average Democratic Vote Share,
                                 Pennsylvania Counties




Moreover, another pronounced trend in Pennsylvania and the rest of the United States is that places
that are gaining population are not only more Democratic to begin with, but are becoming more
Democratic as they gain population. Likewise, places that are losing population are not only
relatively Republican to begin with, but are becoming more Republican. This can be visualized in
Figure 4 below, which, like Figure 3, depicts the change in population from 2010 to 2020 on the
horizontal axis, but on the vertical axis, plots the change in the Democratic vote share from the
average at the beginning of the decade (the 2010 mid-term and the 2012 presidential election) and
the average at the end of the decade (the 2018 mid-term and the 2020 presidential election). Figure
4 demonstrates that many of the counties that are gaining the most population—like Chester,
Montgomery, and Lancaster—are becoming more Democratic. Philadelphia—already extremely
Democratic—is an exception to this pattern.

Note that some of the growing places that are becoming more Democratic, like Montgomery,
Chester, and Allegheny Counties, were already quite Democratic. But others, like Lancaster and
Cumberland, started out with strong Republican majorities, meaning that they are becoming more
competitive over time as they gain population.




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Figure 4: Population Change Since 2010 and Change in Average Democratic Vote Share,
                               Pennsylvania Counties




                                        11
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                                   V.      REDISTRICTING PLAN

The Carter Plan is depicted in Figure 5, which also includes the boundaries of the previous (2018)
plan, in thick gray, as well as the boundaries of Pennsylvania’s counties in thin gray. It is
immediately clear that the district boundaries have changed very little in most of Eastern
Pennsylvania and the Pittsburgh area, where, as shown in Figure 2, population has grown over the
past decade. In contrast, the boundaries in the central part of the state have changed more
substantially to accommodate population loss.

                          Figure 5: Proposed Congressional District Boundaries




Let us begin by taking a closer look at the Philadelphia area, which is displayed in greater detail
in Figure 6. First, in the 2018 plan, Philadelphia County was divided into two relatively compact
districts, Districts 2 and 3, with a small portion of South Philadelphia spilling into District 5. Since
Philadelphia’s population growth has been quite close to overall U.S. population growth, I was
able to retain this arrangement, while only slightly altering the boundaries of Districts 2 and 3 in
order to achieve population equality.


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                    Figure 6: Philadelphia Area




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The previous version of District 1 was comprised mostly of Bucks County, which was kept whole,
with a small segment reaching into Montgomery County. Since population growth in Bucks
County has been somewhat slow relative to the country as a whole, District 1 required additional
population in order to achieve population equality. I followed the same arrangement as before, but
simply added additional county subdivisions along the border between Bucks and Montgomery.

District 5 was based in Delaware County, with a portion reaching into South Philadelphia, and
another reaching into Montgomery County. As with Bucks County, population growth was
lackluster in District 5, so it was necessary to add population. Reaching into Chester County would
have undermined the previous map’s respect for several county boundaries to the West, so I elected
once again to keep the structure of the existing map, reaching further into Montgomery County
and including Norristown in District 5.

The downside of this approach is that it forces Montgomery County-based District 4 much further
into Berks County than in the previous map. As quantified below, this makes District 4 less
compact than the previous version. I considered alternative configurations that would have
expanded District 5 into Chester County, but these approaches inevitably undermined the respect
for county boundaries demonstrated by the previous map.

Next, the previous version of District 7 included the Lehigh Valley counties of Lehigh and
Northampton and reached its population goal by extending Northward into part of Monroe County.
Slow population growth in Northampton County meant that District 7 required additional
population. I was able to unify Carbon County with the rest of the Lehigh Valley. The U.S. Census
Department recognizes Allentown-Bethlehem-Easton as a metropolitan statistical area consisting
of the entirety of Northampton, Lehigh, and Carbon Counties. These counties now constitute the
core of District 7 (see Figure 7).

The previous version of District 8 was based in the Northeast corner of the state, including the
Scranton-Wilkes-Barre corridor and extending to Hazelton in its Southwest corner. The district
needed to add a small amount of population, which was possible to achieve by adding more of
Monroe County as well as a couple of municipalities along the district’s Western border in Luzerne
County.




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                        Figure 7: Districts 7 and 8




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Due to healthy population growth on par with the national average, Districts 6, 10, and 11 required
very little alteration (see Figure 8). As before, District 6 contains all of Chester as well as the
Southwest corner of Berks County and the city of Reading. It was only necessary to add a small
part of Exeter Township.

As in the previous map, District 11 contains all of Lancaster County and the Southern section of
York County. It was only necessary to make small changes along the boundary between districts
10 and 11 in order to achieve population equality.

As before, District 10 is centered on the city of Harrisburg, which sits at the confluence of three
counties: Dauphin, Cumberland, and York. The only noteworthy change is that the district needed
to add a small amount of population by moving somewhat further West into Cumberland County.

                                     Figure 8: Districts 6, 10, and 11




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The boundaries of the former District 9 must change somewhat more substantially for a number
of reasons (see Figure 9). The old version contained the counties of Columbia, Montour, part of
Northumberland, Schuylkill, Carbon, Lebanon, and the rural Northern section of Berks County.
However, Eastern counties have nowhere to grow but inwards, and as described above, Carbon
County was placed in District 7 to unify a metropolitan statistical area. More importantly,
Columbia, Schuylkill, Northumberland, and Montour counties all lost significant population.
Thus, in order to achieve the target population, it was necessary for District 9 to grow to the North
and West, taking the remainder of Northumberland, all of Bradford, Susquehanna, Sullivan, and
Wyoming Counties, as well as part of Lycoming—all areas that had previously been in District
12, which due to severe population loss, cannot be retained.


                                       Figure 9: District 9




                                                 17
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Due to population loss, the old version of District 15 must gain substantial population to its East.
As this happens, it necessarily swallows much of the remainder of what was once District 12 (see
Figure 10). The new version of District 15 is relatively compact and avoids a split of Centre County
that had previously separated State College from some of its suburbs. Like District 15, District 13,
which had included a number of rural counties in South-central Pennsylvania that are experiencing
population loss, must expand to take the remainder of what was once District 12—the counties of
Mifflin, Juniata, and Perry.



                                      Figure 10: Districts 13 and 15




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Now, let us consider the Western part of the state. The previous configuration included District 14
in the Southwest corner of the state, and District 16 in the Northwest corner of the state. Due to
population loss, both needed to expand to the East. District 16 gained the remainder of Butler
County, which had previously been split, and part of Venango County. District 14 expanded
Eastward by taking the remainder of Westmoreland County and most of Indiana and Somerset
Counties.

                    Figure 11: Western Pennsylvania (Districts 14, 12, 17, and 16)




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Finally, it was straightforward to keep the structure of the metropolitan Pittsburgh districts the
same. The previous District 18, now District 12, contained the city of Pittsburgh and its suburbs to
the South and East, while District 17 contained the remaining parts of Allegheny County to the
North and West of Pittsburgh, along with Beaver County. The boundary between Districts 17 and
18 was largely composed of the Pittsburgh City boundary. District 17 needed to gain a small
amount of population. Without violating the boundary of the city of Pittsburgh, it was possible to
do this by simply moving a handful of small suburban municipalities from District 18 to District
17. This left Pittsburgh-based District 18 (now 12) somewhat short of population, but it was
possible to add this by simply appending suburban and exurban areas in Westmoreland County.

                                     VI.     PLAN STATISTICS

Retention of Existing Districts: As described above, I set out to retain the structure of the existing
plan to the extent possible. Overall, 87 percent of the population of Pennsylvania falls in the same
district as before, though what was formerly called District 18 is called District 12 in the Carter
Plan. Table 3 provides information on the share of the population in each individual district in the
Carter Plan that remains in the same district. As described above, Districts 9 and 15 changed the
most, followed by District 13, as they unavoidably captured what was District 12 in the previous
plan due to population loss in Central Pennsylvania. Therefore, it’s unsurprising that residents of
these two districts are less likely to have lived in the same district previously.

           Table 3: Share of Population in Each Proposed District that Will be in the Same
                                     District as in the 2018 Plan

                                                     Share of
                                                   population in
                                                     previous
                                                    version of
                                     District         district
                                             1           93.26%
                                             2           95.84%
                                             3           94.17%
                                             4           81.65%
                                             5           89.74%
                                             6           98.44%
                                             7           90.56%
                                             8           92.10%
                                             9           65.54%
                                           10            96.20%
                                           11            96.91%
                                      12(18)             85.50%
                                           13            73.39%
                                           14            75.65%
                                           15            59.61%
                                           16            89.95%
                                           17            93.63%

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Equal Population: Based on the 2020 Census, the ideal population of each congressional district
is 764,865. The Carter Plan includes 4 districts with the ideal population and 13 districts with a
deviation of plus or minus one person. District-level details are provided in Table 4.

                            Table 4: District Population Deviations 5

                                                           Deviation
                                                             from
                                   District   Population     Ideal
                                      1        764866          1
                                      2        764865          0
                                      3        764864          -1
                                      4        764865          0
                                      5        764866          1
                                      6        764864          -1
                                      7        764865          0
                                      8        764866          1
                                      9        764864          -1
                                     10        764864          -1
                                     11        764864          -1
                                     12        764864          -1
                                     13        764864          -1
                                     14        764866          1
                                     15        764864          -1
                                     16        764865          0
                                     17        764864          -1


Contiguity: Each district in the Carter Plan is made up of contiguous territory.

Political Subdivision Splits: Additionally, I have attempted to minimize county splits. The Carter
Plan splits 13 counties, 10 of which are split among 2 districts, and 3 of which are split among 3
districts. This amounts to a total of 16 splits. The previous 2018 plan also splits 13 counties, but
four of those are split among 3 districts, for a total of 17 county splits. Note that I do not count as
a county split a technically non-contiguous fragment of Chester County that contains six people
and is marooned in Delaware County due to a bend in Brandywine Creek at the intersection with
the Southern state boundary. I also do not count this as a county split in the 2018 redistricting plan,
consistent with the Pennsylvania Supreme Court’s approach. The counties in the Carter Plan that
are split among three districts are Berks, Philadelphia, and Montgomery. The 2018 plan also split
these same counties among three districts, in addition to Butler County, but I was able to eliminate
a split contained in the previous plan in the Southwest corner of Butler County.


5
 The population of each district remains the same whether one uses the 2020 Census redistricting
data or the Legislative Reapportionment Commission’s Data Set #1.
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    The Carter Plan splits the city of Philadelphia between 3 districts and also splits the following 18
    county subdivisions between two districts: Horsham and Lower and Upper Marion Townships in
    Montgomery County; Exeter, Lower Heidelberg, and Perry Townships in Berks County; Ross
    Township in Monroe County; Newport and Butler Townships in Luzerne County; Jackson
    Township in York County; North Newton Township in Cumberland County; the city of
    Williamsport in Lycoming County; Victory Township in Venango County; Swissvale Borough in
    Allegheny County; Hempfield and South Huntingdon Townships in Westmoreland County;
    Conemaugh Township in Somerset County; South Mahoning Township in Indiana County. The
    previous plan also split 19 county subdivisions.

    The Carter Plan splits only 14 vote tabulation districts. This is a substantial improvement over the
    previous 2018 plan, which split 32 VTDs.

    Compactness: I also attempted to retain the overall compactness of the previous plan. Table 5
    provides compactness statistics for the same measures of compactness relied upon by the Court in
    its deliberations in 2018. For each of these scores, higher numbers indicate more-compact districts.

                        Table 5: Compactness Statistics: Previous (2018) Plan and Proposed Plan


                                                                              Polsby-
                          Reock,                                    Polsby-   Popper,   Population   Population                  Area/Convex
               Reock,      2018     Schwartzberg,   Schwartzberg,   Popper,    2018      Polygon,     Polygon,    Area/Convex     Hull, 2018
District       Carter      plan        Carter         2018 plan      Carter    plan       Carter     2018 plan    Hull, Carter       plan
           1       0.4       0.43             1.5            1.43       0.4      0.46         0.75        0.78            0.82          0.83
           2      0.33       0.37            1.49            1.42      0.42      0.47         0.92        0.96            0.84          0.86
           3       0.4       0.43            1.72            1.63      0.32      0.36         0.78          0.8           0.72          0.74
           4      0.27       0.41            2.29            1.73      0.17      0.31         0.51        0.64            0.68          0.81
           5      0.41       0.44            1.86            1.54      0.27      0.38          0.6        0.69            0.72          0.84
           6      0.45       0.45            1.68            1.69      0.29      0.29         0.83        0.82            0.73          0.72
           7      0.57       0.41            1.45             1.5      0.42      0.42         0.92        0.95            0.78          0.83
           8      0.47       0.49            1.67            1.73      0.28      0.28         0.91        0.88            0.74          0.75
           9      0.41       0.55            1.83            1.94      0.28      0.25         0.54        0.53            0.74          0.74
      10          0.49       0.49            1.76            1.72      0.27      0.29         0.86        0.88            0.71          0.76
      11          0.45       0.45            1.49            1.51      0.37      0.37         0.79        0.78            0.88          0.88
 12 (18)          0.63       0.46            2.13            2.21      0.18      0.18         0.75        0.75            0.78          0.72
      13          0.56        0.4            1.56            1.81      0.39      0.26         0.68        0.75            0.83          0.79
      14          0.47       0.54            1.76            1.63       0.3      0.34         0.35        0.37            0.76          0.77
      15          0.57       0.67            1.49            1.46      0.43      0.42         0.74        0.69            0.86          0.86
      16          0.36       0.32            1.42            1.43      0.39      0.38         0.92        0.87            0.87           0.8
      17          0.51       0.51            1.85             1.8      0.26      0.28          0.6          0.6           0.76          0.76


Average           0.46       0.46             1.7            1.67      0.32      0.33         0.73        0.74            0.78          0.79




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Averaging across all districts, the compactness of the Carter Plan is similar to that of the previous
plan when examining the Reock score, and slightly more compact when considering the
Schwartzberg score. The Carter Plan is very slightly less compact than the existing plan when
using the Polsby-Popper, Population Polygon, and Area/Convex Hull scores. Table 5 reveals that
this difference is driven largely by Districts 4 and 5, which, as described above, had to become
somewhat less compact in order to accommodate asymmetries in the rate of population growth
between Montgomery, Delaware, and Bucks counties while minimizing county splits in
Southeastern Pennsylvania.

Minority Representation: I did not consider racial data as I was drawing districts or making
adjustments for population changes in the map.

Incumbent Addresses: I considered incumbent addresses to confirm that I was not inadvertently
double-bunking sitting congressional representatives in the same district. Since I made very minor
changes to most districts, as described above, I did not inadvertently remove any incumbents from
their existing districts. Note that Representative Dean, the incumbent in District 4, appears to have
recently moved to a new address a short distance away from the previous address, both of which
are in Montgomery County. However, the new address is also in District 4, both in its previous
manifestation and in the Carter Plan’s configuration. As described above, it was not possible to
avoid placing Rep. Keller from District 12, which was lost due to population loss, with another
rural representative. The Carter Plan ends up placing Rep. Keller in District 15, along with
incumbent Rep. Thompson. The consideration of these residential addresses had no impact on the
Carter Plan’s satisfaction of traditional redistricting criteria.

Partisan Performance: I did not consider partisan performance as I was drawing the map.
However, upon analysis, the proposed redistricting plan is quite similar to the previous plan in
terms of partisanship. Of course, it is not possible to examine results of congressional races that
have not yet occurred. To draw inferences about the partisanship of these districts, it is useful to
begin by adding up precinct-level results of recent statewide elections within the proposed
boundaries. In Table 6, I do this for statewide elections from 2016 to 2020, taking an average for
each district, and in order to facilitate comparisons with the previous (2018) plan, presented above
in Table 2, I also focus on elections from 2018 to 2020 only.

As in the previous plan, there are 10 metropolitan districts where in statewide races, the average
Democratic vote share is above 50 percent. These are the same 10 districts for which this was true
in the previous plan. This is not surprising, since as described above, the metropolitan districts
required minimal change to equalize population and thus retained many of the same voters.

It should be noted, however, that several of these districts are very evenly divided between the
parties and, as described above, incumbent legislators often over- or under-perform relative to their
statewide co-partisans—sometimes quite substantially. Fortunately, because there is so much
overlap between the old and new districts, and since incumbents are running in each of the highly
competitive districts, it is possible to do better than simply relying on the statewide aggregates
when assessing the most likely outcomes of future elections.




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            Table 6: Statewide Election Results Aggregated to the Proposed Congressional
                                             Boundaries

                                           Average             Average
                                          Democratic          Democratic
                                        Statewide vote      Statewide vote
                                       share, 2016-2020    share, 2018-2020
                           District
                                   1             51.81%             53.00%
                                   2             74.57%             74.03%
                                   3             91.11%             91.32%
                                   4             58.59%             60.07%
                                   5             64.67%             65.82%
                                   6             55.01%             56.56%
                                   7             50.88%             51.70%
                                   8             51.01%             51.62%
                                   9             33.42%             33.82%
                                 10              46.81%             48.15%
                                 11              38.37%             39.30%
                                 12              62.03%             63.06%
                                 13              29.12%             29.19%
                                 14              38.39%             38.76%
                                 15              33.51%             33.51%
                                 16              41.55%             42.39%
                                 17              53.99%             55.52%


In two of the districts with nominal Democratic majorities, these majorities are very narrow. In
District 7, the average statewide Democratic vote share is between 50.9 percent and 51.7 percent,
depending on which elections are included. As conveyed in Table 2 above, on average, the vote
share of the Democratic incumbent in District 7 is slightly lower than that of her statewide
Democratic co-partisans. As a result, District 7 can be viewed as a tossup district with a very slight
Democratic lean.

In District 8, the average statewide Democratic vote share is between 51 percent and 51.6 percent,
depending on which elections are used. Since Matt Cartwright, the Democratic incumbent,
outperforms his statewide co-partisans by around 2 percentage points, this should be seen as a
competitive but Democratic-leaning district. Even a relatively modest pro-Republican wave has
the potential to unseat the incumbents in both Districts 7 and 8.

In District 1, the average statewide Democratic vote share is between 51.8 percent and 53 percent.
However, as demonstrated above, on average, the incumbent Republican candidate,
Representative Fitzpatrick, outperformed his statewide co-partisans by an astounding 7.5
percentage points. There is no reason to anticipate that this advantage will suddenly disappear,
especially since 93 percent of the people in District 1 in the Carter Plan already lived in the district


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that has repeatedly elected Representative Fitzpatrick in the past. If we use all the information at
hand, District 1 should be understood as a very likely Republican district.

The other relatively competitive district is number 10, which contains metro Harrisburg and
surroundings. The average Republican statewide vote share in this district is between 51.9 percent
and 53.2 percent. The incumbent in this district, where 96 percent of voters are the same as before,
outperforms his statewide co-partisans by a little over 1 percentage point. This makes District 10
a likely Republican seat, but one that could potentially change hands in the event of a very large
pro-Democratic wave.

In sum, using all the information at our disposal, the proposed plan produces 8 districts where
Democrats are expected to win, one of which (District 8) is potentially quite competitive; 8 districts
where Republicans are quite likely to win, two of which are at least potentially competitive (1 and
10); and one district (District 7) that is a toss-up with a very slight Democratic lean. This level of
partisan balance and competitiveness is similar to that of the existing plan, reflective of
Pennsylvania’s statewide partisan preferences, and consistent with changes in population as they
relate to partisanship.

                                        VII.    CONCLUSION

The remedial redistricting plan endorsed by the Pennsylvania Supreme Court in 2018
demonstrated numerous admirable features including adherence to traditional redistricting
principles as well as partisan fairness and responsiveness. This report introduces a new
redistricting plan, the Carter Plan, that builds on those achievements, preserving the architecture
of districts and matching or surpassing the previous plan with respect to compactness, contiguity,
population equality, and splits of counties, county subdivisions, and vote tabulation districts.
Moreover, this plan is likely to produce a Congressional delegation that reflects the statewide
partisan preferences of Pennsylvanians, and one that changes in response to changes in those
preferences.


I hereby certify that the foregoing statements are true and correct to the best of my knowledge,
information, and belief. This verification is made subject to the penalties of 18 Pa.C.S. § 4904
relating to unsworn falsification to authorities.




_______________________________
Jonathan Rodden


January 24, 2022



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                    Exhibit A
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Personal
   Born on August 18. 1971, St. Louis, MO.

   United States Citizen.


Education
   Ph.D. Political Science, Yale University, 2000.

   Fulbright Scholar, University of Leipzig, Germany, 1993–1994.
   B.A., Political Science, University of Michigan, 1993.


Academic Positions
   Professor, Department of Political Science, Stanford University, 2012–present.

   Senior Fellow, Stanford Institute for Economic Policy Research, 2020–present.

   Senior Fellow, Hoover Institution, Stanford University, 2012–present.

   Director, Spatial Social Science Lab, Stanford University, 2012–present.

   W. Glenn Campbell and Rita Ricardo-Campbell National Fellow, Hoover Institution, Stanford Univer-
   sity, 2010–2012.
   Associate Professor, Department of Political Science, Stanford University, 2007–2012.

   Fellow, Center for Advanced Study in the Behavioral Sciences, Palo Alto, CA, 2006–2007.

   Ford Career Development Associate Professor of Political Science, MIT, 2003–2006.

   Visiting Scholar, Center for Basic Research in the Social Sciences, Harvard University, 2004.

   Assistant Professor of Political Science, MIT, 1999–2003.

   Instructor, Department of Political Science and School of Management, Yale University, 1997–1999.




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Publications
Books
  Why Cities Lose: The Deep Roots of the Urban-Rural Divide. Basic Books, 2019.
  Decentralized Governance and Accountability: Academic Research and the Future of Donor Programming. Co-
  edited with Erik Wibbels, Cambridge University Press, 2019.
  Hamilton‘s Paradox: The Promise and Peril of Fiscal Federalism, Cambridge University Press, 2006. Winner,
  Gregory Luebbert Award for Best Book in Comparative Politics, 2007; Martha Derthick Award for
  lasting contribution to the study of federalism, 2021.
  Fiscal Decentralization and the Challenge of Hard Budget Constraints, MIT Press, 2003. Co-edited with
  Gunnar Eskeland and Jennie Litvack.

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  Paper Award, American Political Science Association Network Section.
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  2015, American Journal of Political Science 59,4: 789-805 (with Ernesto Calvo). Winner, Michael Waller-
  stein Award for best paper in political economy, American Political Science Association.


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and James Snyder).

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Coalitions, 2004, Dados 47, 3 (with Marta Arretche, in Portuguese).

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tics 36, 4: 481-500. (Portuguese version, 2005, in Revista de Sociologia e Politica 25).

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Politics 3, 2: 151–175.

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  Elections, Political Polarization, and Economic Uncertainty, NBER Working Paper 27961 (with Scott
  Baker, Aniket Baksy, Nicholas Bloom, and Steven Davis).

  Federalism and Inter-regional Redistribution, Working Paper 2009/3, Institut d’Economia de Barcelona.

  Representation and Regional Redistribution in Federations, Working Paper 2010/16, Institut d’Economia
  de Barcelona (with Tiberiu Dragu).

Chapters in Books
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  Weighill), in Political Geometry, edited by Moon Duchin and Olivia Walch, forthcoming 2021, Springer.

  Keeping Your Enemies Close: Electoral Rules and Partisan Polarization, in The New Politics of Insecurity,
  edited by Frances Rosenbluth and Margaret Weir, forthcoming 2021, Cambridge University Press.
  Decentralized Rule and Revenue, 2019, in Jonathan Rodden and Erik Wibbels, eds., Decentralized Gov-
  ernance and Accountability, Cambridge University Press.

  Geography and Gridlock in the United States, 2014, in Nathaniel Persily, ed. Solutions to Political
  Polarization in America, Cambridge University Press.

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  States Go Broke: The Origins, Context, and Solutions for the American States in Fiscal Crisis, Cambridge
  University Press.

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  Olle, eds., The Political Economy of Inter-Regional Fiscal Flows, Edward Elgar.

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  Alan Zuckerman, eds., Comparative Politics: Rationality, Culture, and Structure (Second Edition), Cam-
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  Flores and Alessandro Turrini, eds., Fiscal Policy Surveillance in Europe, Palgrave MacMillan.

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  Lake, eds., Governance in a Global Economy: Political Authority in Transition, Princeton University Press:
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  and Self-Determination: Is the Nation-State under Siege? Routledge.)

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   ization and the Challenge of Hard Budget Constraints (see above).
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   Challenge of Hard Budget Constraints (see above).
   Lessons and Conclusions (Chapter 13), 2003, in Rodden, et al., Fiscal Decentralization and the Challenge
   of Hard Budget Constraints (see above).

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   Stanford Election Atlas, 2012 (collaboration with Stephen Ansolabehere at Harvard and Jim Herries at
   ESRI)

Other Publications
   Supporting Advanced Manufacturing in Alabama, Report to the Alabama Innovation Commission,
   Hoover Institution, 2021.
   How America’s Urban-Rural Divide has Shaped the Pandemic, 2020, Foreign Affairs, April 20, 2020.
   An Evolutionary Path for the European Monetary Fund? A Comparative Perspective, 2017, Brieﬁng
   paper for the Economic and Financial Affairs Committee of the European Parliament.
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   on Fiscal Federalism, Institut d’Economia de Barcelona.
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   Decentralization and the Challenge of Hard Budget Constraints, PREM Note 41, Poverty Reduction and
   Economic Management Unit, World Bank, Washington, D.C. (July).
   Decentralization and Hard Budget Constraints, APSA-CP (Newsletter of the Organized Section in
   Comparative Politics, American Political Science Association) 11:1 (with Jennie Litvack).
   Book Review of The Government of Money by Peter Johnson, Comparative Political Studies 32,7: 897-900.


Fellowships, Honors, and Grants
   John Simon Guggenheim Memorial Foundation Fellowship, 2021.
   Martha Derthick Award of the American Political Science Association for “the best book published at
   least ten years ago that has made a lasting contribution to the study of federalism and intergovern-
   mental relations,” 2021.
   National Institutes of Health, funding for “Relationship between lawful handgun ownership and risk
   of homicide victimization in the home,” 2021.
   National Collaborative on Gun Violence Research, funding for “Cohort Study Of Firearm-Related Mor-
   tality Among Cohabitants Of Handgun Owners.” 2020.
   Fund for a Safer Future, Longitudinal Study of Handgun Ownership and Transfer (LongSHOT),
   GA004696, 2017-2018.
   Stanford Institute for Innovation in Developing Economies, Innovation and Entrepreneurship research
   grant, 2015.

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  Michael Wallerstein Award for best paper in political economy, American Political Science Association,
  2016.
  Common Cause Gerrymandering Standard Writing Competition, 2015.
  General support grant from the Hewlett Foundation for Spatial Social Science Lab, 2014.
  Fellow, Institute for Research in the Social Sciences, Stanford University, 2012.
  Sloan Foundation, grant for assembly of geo-referenced precinct-level electoral data set (with Stephen
  Ansolabehere and James Snyder), 2009-2011.
  Hoagland Award Fund for Innovations in Undergraduate Teaching, Stanford University, 2009.
  W. Glenn Campbell and Rita Ricardo-Campbell National Fellow, Hoover Institution, Stanford Univer-
  sity, beginning Fall 2010.
  Research Grant on Fiscal Federalism, Institut d‘Economia de Barcelona, 2009.
  Fellow, Institute for Research in the Social Sciences, Stanford University, 2008.
  United Postal Service Foundation grant for study of the spatial distribution of income in cities, 2008.
  Gregory Luebbert Award for Best Book in Comparative Politics, 2007.
  Fellow, Center for Advanced Study in the Behavioral Sciences, 2006-2007.
  National Science Foundation grant for assembly of cross-national provincial-level dataset on elections,
  public ﬁnance, and government composition, 2003-2004 (with Erik Wibbels).
  MIT Dean‘s Fund and School of Humanities, Arts, and Social Sciences Research Funds.
  Funding from DAAD (German Academic Exchange Service), MIT, and Harvard EU Center to organize
  the conference, ”European Fiscal Federalism in Comparative Perspective,” held at Harvard University,
  November 4, 2000.
  Canadian Studies Fellowship (Canadian Federal Government), 1996-1997.
  Prize Teaching Fellowship, Yale University, 1998-1999.
  Fulbright Grant, University of Leipzig, Germany, 1993-1994.
  Michigan Association of Governing Boards Award, one of two top graduating students at the Univer-
  sity of Michigan, 1993.
  W. J. Bryan Prize, top graduating senior in political science department at the University of Michigan,
  1993.


Other Professional Activities
  Selection committee, best paper award, American Journal of Political Science.
  International Advisory Committee, Center for Metropolitan Studies, Sao Paulo, Brazil, 2006–2010.
  Selection committee, Mancur Olson Prize awarded by the American Political Science Association Po-
  litical Economy Section for the best dissertation in the ﬁeld of political economy.
  Selection committee, Gregory Luebbert Best Book Award.
  Selection committee, William Anderson Prize, awarded by the American Political Science Association
  for the best dissertation in the ﬁeld of federalism and intergovernmental relations.

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Courses
Undergraduate
  Politics, Economics, and Democracy
  Introduction to Comparative Politics
  Introduction to Political Science
  Political Science Scope and Methods
  Institutional Economics
  Spatial Approaches to Social Science

Graduate
  Political Economy
  Political Economy of Institutions
  Federalism and Fiscal Decentralization
  Politics and Geography


Consulting
  2017. Economic and Financial Affairs Committee of the European Parliament.
  2016. Brieﬁng paper for the World Bank on ﬁscal federalism in Brazil.
  2013-2018: Principal Investigator, SMS for Better Governance (a collaborative project involving USAID,
  Social Impact, and UNICEF in Arua, Uganda).
  2019: Written expert testimony in McLemore, Holmes, Robinson, and Woullard v. Hosemann, United States
  District Court, Mississippi.
  2019: Expert witness in Nancy Corola Jacobson v. Detzner, United States District Court, Florida.
  2018: Written expert testimony in League of Women Voters of Florida v. Detzner No. 4:18-cv-002510,
  United States District Court, Florida.
  2018: Written expert testimony in College Democrats of the University of Michigan, et al. v. Johnson, et al.,
  United States District Court for the Eastern District of Michigan.
  2017: Expert witness in Bethune-Hill v. Virginia Board of Elections, No. 3:14-CV-00852, United States
  District Court for the Eastern District of Virginia.
  2017: Expert witness in Arizona Democratic Party, et al. v. Reagan, et al., No. 2:16-CV-01065, United
  States District Court for Arizona.
  2016: Expert witness in Lee v. Virginia Board of Elections, 3:15-cv-357, United States District Court for
  the Eastern District of Virginia, Richmond Division.
  2016: Expert witness in Missouri NAACP v. Ferguson-Florissant School District, United States District
  Court for the Eastern District of Missouri, Eastern Division.


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2014-2015: Written expert testimony in League of Women Voters of Florida et al. v. Detzner, et al., 2012-CA-
002842 in Florida Circuit Court, Leon County (Florida Senate redistricting case).

2013-2014: Expert witness in Romo v Detzner, 2012-CA-000412 in Florida Curcuit Court, Leon County
(Florida Congressional redistricting case).

2011-2014: Consultation with investment groups and hedge funds on European debt crisis.

2011-2014: Lead Outcome Expert, Democracy and Governance, USAID and Social Impact.

2010: USAID, Review of USAID analysis of decentralization in Africa.
2006–2009: World Bank, Independent Evaluations Group. Undertook evaluations of World Bank de-
centralization and safety net programs.

2008–2011: International Monetary Fund Institute. Designed and taught course on ﬁscal federalism.

1998–2003: World Bank, Poverty Reduction and Economic Management Unit. Consultant for World De-
velopment Report, lecturer for training courses, participant in working group for assembly of decentral-
ization data, director of multi-country study of ﬁscal discipline in decentralized countries, collaborator
on review of subnational adjustment lending.



                                     Last updated: September 23, 2021




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